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                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF CONNECTICUT
                                   BRIDGEPORT DIVISION

   In Re:                                                )   Chapter 11
                                                         )
   HO WAN KWOK, et al.,1                                 )   Case No. 22-50073 (JAM)
                                                         )
                        Debtors.                         )   (Jointly Administered)
                                                         )
                                                         )   October 27, 2023
   ___________________________________


   MOTION TO WITHDRAW APPEARANCE OF MARCY J. MCLAUGHLIN SMITH

          Pursuant to Local Rule of Civil Procedure 7(e), made applicable by Local Rule of

Bankruptcy Procedure 9083-4, Marcy J. McLaughlin Smith, Esq., of Troutman Pepper Hamilton

Sanders LLP requests permission to withdraw her appearance on behalf of Bravo Luck Limited

(“Bravo”) in this action.

          In support of this motion, the undersigned states that after October 27, 2023,

Ms. McLaughlin Smith will no longer be employed by Troutman Pepper Hamilton Sanders LLP

and no longer represent Bravo.

          The undersigned further states that Francis J. Lawall, Esq., and Joanna J. Cline, Esq., of

Troutman Pepper Hamilton Sanders LLP have already appeared on behalf of, and will continue to

represent, Bravo in this action.




          1
          The Debtors in these chapter 11 cases are Ho Wan Kwok (last four digits of tax identification number:
9595), Genever Holdings LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation.
The mailing address for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul Hastings
LLP, 200 Park Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho Wan Kwok (solely
for purposes of notices and communications).



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          WHEREFORE, for the foregoing reasons, the undersigned respectfully requests that the

Court enter the order attached hereto as Exhibit A to grant leave to withdraw her appearance in

the above-captioned case.

Dated at Wilmington, Delaware, this 27th day of October, 2023.



                                          /s/ Marcy J. McLaughlin Smith
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                                           Withdrawing Counsel for Bravo Luck Limited




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                                  CERTIFICATE OF SERVICE

                The undersigned certifies that on October 27, 2023, the Motion to Withdraw

Appearance of Marcy J. Mclaughlin Smith was filed electronically. Notice of this filing will be

sent by e-mail to all parties by operation of the Court’s electronic filing system or by United States

first class mail, postage prepaid, to anyone unable to accept electronic filing, as indicated on the

Notice of Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.

A.        Electronic Notice Via CM/ECF Service List


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